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 2   San Francisco, California 94105
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 3   Facsimile: (415) 358-4116
 4   Attorney for Plaintiff,
     MICHAEL B. CORTEZ
 5   ANTOINETTE A. CORTEZ
 6

 7                                UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
10   MICHAEL CORTEZ, an individual; and                    Case No.: 2:18-cv-01896-WBS-EFB
     ANTOINETTE CORTEZ, an individual;
11                                                         STIPULATION FOR RELEASE OF
                   Plaintiff,                              CASH BOND TO PLAINTIFFS;
12                                                         [PROPOSED] ORDER
            v.
13
     SECOND CHANCE HOME LOANS, LLC, a
14   business entity; ALLIED SERVICING
     CORPORATION, a business entity; PNC
15   BANK, NATIONAL ASSOCIATION, a
     business entity; and DOES 1-50, inclusive
16
                 Defendant
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                                STIPULATION FOR RELEASE OF CASH BOND TO PLAINTIFFS
     Case 2:18-cv-01896-WBS-EFB Document 41 Filed 10/22/18 Page 2 of 3

 1           STIPULATION FOR WITHDRAWAL OF PLAINTIFFS’ MOTION FOR

 2                                 PRELIMINARY INJUNCTION

 3          Plaintiffs MICHAEL CORTEZ and ANTIONETTE CORTEZ and Defendants PNC

 4   BANK, NATIONAL ASSOCIATION, SECOND CHANCE HOME LOANS, LLC and ALLIED

 5   SERVICING CORPORATION (the “Parties”) hereby stipulate by and through their respective

 6   attorneys of record, that the bond payment of $5,000.00 posted by Plaintiffs on July 10, 2018

 7   pursuant to the Order Granting Plaintiffs’ Motion for a Temporary Restraining Order dated July

 8   9, 2018 be released to Plaintiffs MICHAEL CORTEZ and ANTIONETTE CORTEZ.

 9
     SO STIPULATED.
10

11                                               WOLFE & WYMAN LLP
     DATED: October 18, 2018
12
                                                 By: /s/ Joshua M. Bryan
13                                                    STUART B. WOLFE
                                                      JOSHUA M. BRYAN
14                                               Attorneys for Defendants
                                                 PNC BANK, N.A.
15

16

17
     DATED: October 18, 2018                     SCHEER LAW GROUP, LLP
18

19
                                                 By: /s/ Jonathan Seigel
20                                                    JONATHAN SEIGEL
                                                 Attorneys for Defendants
21                                               SECOND CHANCE HOME LOANS, LLC
                                                 and ALLIED SERVICE CORPORATION
22

23
     DATED: October 17, 2018                     SHAPERO LAW FIRM
24

25
                                                 By: /s/ Sarah Shapero
26                                                    SARAH SHAPERO
                                                 Attorneys for Plaintiffs
27                                               MICHAEL B. CORTEZ and ANTONIETTE
                                                 A. CORTEZ
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                                                    2
                             STIPULATION FOR RELEASE OF CASH BOND TO PLAINTIFFS
     Case 2:18-cv-01896-WBS-EFB Document 41 Filed 10/22/18 Page 3 of 3

 1                                                 ORDER

 2           Based upon the joint stipulation of Plaintiffs MICHAEL CORTEZ and ANTIONETTE

 3   CORTEZ and Defendants’ PNC BANK, NATIONAL ASSOCIATION, SECOND CHANCE

 4   HOME LOANS, LLC and ALLIED SERVICING CORPORATION (the “Parties”), and good

 5   cause appearing, the Court orders that the Clerk of Court return to Plaintiffs MICHAEL CORTEZ

 6   and ANTIONETTE CORTEZ the $5,000.00 bond that was posted with the Clerk on July 10,

 7   2018.

 8   Dated: October 19, 2018

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                               STIPULATION FOR RELEASE OF CASH BOND TO PLAINTIFFS
